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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                                      1100 East Main Street, Suite 501
                                      Richmond, Virginia 23219-3517
                                          www.ca4.uscourts.gov

                                          November 1, 2023
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                                             NOTICE
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        No. 23-2132,    In re: Caryn Strickland
                        1:20-cv-00066-WGY

        TO: Counsel

        The judges of the Fourth Circuit have recused themselves in this case. The following
        panel of judges has been designated in accordance 28 U.S.C. § 294(d):

        Honorable Mary Beck Briscoe Senior Circuit Judge, U.S. Court of Appeals for the
        Tenth Circuit

        Honorable Ronald Lee Gilman Senior Circuit Judge, U.S. Court of Appeals for the
        Sixth Circuit

        Honorable Michael J. Melloy Senior Circuit Judge, U.S. Court of Appeals for the
        Eighth Circuit

        Nwamaka Anowi, Clerk
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